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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                  Plaintiff,                         )
                                                       )
10           v.                                        ) 2:12-CR-0004-APG-(GWF)
                                                       )
11 ALEXANDER KOSTYUKOV,                                )
                                                       )
12                  Defendant.                         )
13                               PRELIMINARY ORDER OF FORFEITURE
14           This Court finds that on November 18, 2013, defendant ALEXANDER KOSTYUKOV pled

15 guilty to Counts One, Two, Four, Eight, and Eleven of a Sixty Two-Count Criminal Indictment

16 charging him in Count One with Participation in a Racketeer Influenced Corrupt Organization in

17 violation of Title 18, United States Code, Section 1962(c); in Count Two with Conspiracy to Engage

18 in a Racketeer Influenced Corrupt Organization in violation of Title 18, United States Code, Section
19 1962(d); and in Counts Four, Eight, and Eleven with Trafficking in and Production of False

20 Identification Documents in violation of Title 18, United States Code, Section 1028(a)(1),

21 (b)(1)(A)(ii), and (c)(3). Criminal Indictment, ECF No. 1; Change of Plea Minutes, ECF No. ___.

22           This Court finds defendant ALEXANDER KOSTYUKOV agreed to the forfeiture of the

23 property set forth in the Bill of Particulars and the Forfeiture Allegation of the Criminal Indictment.

24 Criminal Indictment, ECF No. 1; Bill of Particulars, ECF No. 427; Change of Plea Minutes, ECF No.

25 ___; Sentencing Stipulations, ECF No. 655.
26 . . .




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 1           This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of

 2 America has shown the requisite nexus between property set forth in the Bill of Particulars and the

 3 Forfeiture Allegation of the Criminal Indictment and the offenses to which defendant ALEXANDER

 4 KOSTYUKOV pled guilty.

 5           The following assets are subject to forfeiture pursuant to Title 18, United States Code,

 6 Section 1963(a)(1), (a)(2), (a)(3), and (m):

 7                      1)    a Gateway laptop computer, bearing serial number T3B73P1006170, seized

 8                            from Raji Aziz on March 14, 2011;

 9                      2)    an Apple iPad 16 GB silver, model A1396, bearing serial number

10                            DLXFW1DLDFJ1, seized from Irina Bolnova on March 15, 2012;

11                      3)    an Acer Aspire One 522 laptop computer, bearing serial number

12                            LUSES0D0101014763B16-01, seized from Maceo Boozer on March 15,

13                            2012;

14                      4)    a Coby laptop, bearing serial number N1023X1005S000497B, seized from

15                            Maceo Boozer on July 9, 2012;

16                      5)    an HP laptop, bearing serial number CNF0208QNY, seized from Maceo

17                            Boozer on July 9, 2012;

18                      6)    a Seagate USB drive, bearing serial number NA02E6VK, seized from

19                            Maceo Boozer on July 9, 2012;

20                      7)    a Dell laptop computer, bearing serial number G4CJLL1, seized from

21                            Duvaughn Butler on March 1, 2011;

22                      8)    an HP desktop computer, Datacode SM number R08510000460630, seized

23                            from Duvaughn Butler on March 1, 2011;

24                      9)    a Mastercard $100 gift card, bearing card number xxxxxxxxxxxx1923,

25                            seized from Duvaughn Butler on March 1, 2011;

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 1                    10) a Vanilla $100 Mastercard gift card, bearing card number

 2                         xxxxxxxxxxxx7257, seized from Duvaughn Butler on March 1, 2011;

 3                    11) an iPhone 3, black, bearing FCC ID number BCGA1303B, seized from

 4                         Duvaughn Butler on March 1, 2011;

 5                    12) a Time Capsule 802.11N WiFi hard drive, bearing serial number

 6                         C86H6722DM73, seized from Omar Butt on March 15, 2012;

 7                    13) a SanDisk memory card, 8 GB, seized from Omar Butt on March 15, 2012;

 8                    14) a SanDisk memory card, 16 GB, seized from Omar Butt on March 15, 2012;

 9                    15) a SanDisk memory card, 32 GB, seized from Omar Butt on March 15, 2012;

10                    16) a Canon Power Shot camera, red, model 50780, seized from Omar Butt on

11                         March 15, 2012;

12                    17) an Apple iPhone 4, bearing serial number 579CE2380A, seized from Omar

13                         Butt on March 15, 2012;

14                    18) an AT&T cell phone, black, bearing serial number Q4V7NB1180518074,

15                         seized from Omar Butt on March 15, 2012;

16                    19) an AT&T cell phone, black, bearing serial number Q4V7NB1180520439,

17                         seized from Omar Butt on March 15, 2012;

18                    20) a Motorola cell phone, black, bearing serial number H31LJGTFJT, seized

19                         from Omar Butt on March 15, 2012;

20                    21) an iPhone 3, 16 GB, black, model A1241, bearing FCC ID number

21                         BCGA1241, seized from Omar Butt on March 15, 2012;

22                    22) a MacBook Pro, bearing serial number CO2GJ0DW47, seized from Omar

23                         Butt on March 15, 2012;

24                    23) an iPhone, 8 GB, bearing serial number 8174ETWH8, seized from Omar

25                         Butt on March 15, 2012;

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 1              24) an iPhone 4, black, model A1387, bearing FCC ID number BCGE2430A,

 2                   seized from Omar Butt on March 15, 2012;

 3              25) an Apple Airport hard disk, bearing serial number 6F9394ER2UP, seized

 4                   from Omar Butt on March 15, 2012;

 5              26) a Canon Pixma printer MP 600 with cable cords, seized from Omar Butt on

 6                   March 15, 2012;

 7              27) a Datacard 1501 printer, bearing serial number 7464, seized from Omar Butt

 8                   on March 15, 2012;

 9              28) a Power Printer ID Card 088025 Fargo Hi-Def printer, bearing serial

10                   number A3490223, seized from Omar Butt on March 15, 2012;

11              29) a WD hard drive, bearing serial number WCAPD1154606, seized from

12                   Omar Butt on March 15, 2012;

13              30) an AcomData HD drive, bearing serial number E43125, seized from Omar

14                   Butt on March 15, 2012;

15              31) a DNY SD card, 4 GB, seized from Omar Butt on March 15, 2012;

16              32) a DNY SD card, 8 GB, seized from Omar Butt on March 15, 2012;

17              33) a Hitachi external hard drive, bearing serial number PAG52P3A, seized

18                   from Omar Butt on March 15, 2012;

19              34) an Apple TV, bearing serial number YM7240QRYR4, seized from Omar

20                   Butt on March 15, 2012;

21              35) a Dell laptop Latitude V300, bearing serial number

22                   CN03Y6453652138B0312, seized from Omar Butt on March 15, 2012;

23              36) a Sigma DP2 camera, bearing serial number 1011595, seized from Omar

24                   Butt on March 15, 2012;

25              37) an Acer laptop, bearing serial number LXE820X0258200F2792000, seized

26                   from Omar Butt on March 15, 2012;

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 1              38) a PlayStation 3 D 53, bearing serial number CG158070191CECH2001A,

 2                   seized from Omar Butt on March 15, 2012;

 3              39) an Xbox 360 2001 A, bearing serial number 152319705205, seized from

 4                   Omar Butt on March 15, 2012;

 5              40) a PC tower, white, bearing serial number 0016318606, seized from Omar

 6                   Butt on March 15, 2012;

 7              41) a PC tower, white, HP CD-Writer 9100 series (CD-ROM drive), seized from

 8                   Omar Butt on March 15, 2012;

 9              42) a PC tower, white, bearing datacard number PH411423, seized from Omar

10                   Butt on March 15, 2012;

11              43) a PC tower, white, bearing serial number DP000821120164028AJK324,

12                   (CD-ROM drive), seized from Omar Butt on March 15, 2012;

13              44) a PC tower, white, bearing serial number 810F48069A30, (modem), seized

14                   from Omar Butt on March 15, 2012;

15              45) a Canon DSLR 126251 SW11017, bearing serial number 2771201017,

16                   seized from Omar Butt on March 15, 2012;

17              46) a Nuvarel wireless antenna, Virgin Mobile, black, ESN 09108460367,

18                   seized from Omar Butt on March 15, 2012;

19              47) an ATM machine Nextran Com Net 3000, bearing identification number

20                   4518420355271402, seized from Omar Butt on March 15, 2012;

21              48) a hand truck, Milwaukee, black, model number 60138, seized from Omar

22                   Butt on March 15, 2012;

23              49) an Epson printer Stylus NX415, seized from David Camez on May 27,

24                   2010;

25              50) an HP Photosmart printer C4740, seized from David Camez on May 27,

26                   2010;

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 1              51) a PVC card embosser ECard, seized from David Camez on May 27, 2010;

 2              52) a PVC card embosser Wonder, seized from David Camez on May 27, 2010;

 3              53) a hot stamping/tipper machine, seized from David Camez on May 27, 2010;

 4              54) a Dell XPS 420 with monitor, bearing serial number 2V4Z9G1, seized from

 5                   David Camez on May 27, 2010;

 6              55) a Playstation 3, bearing serial number CF347430751-CECHP01, seized

 7                   from David Camez on May 27, 2010;

 8              56) a Gateway laptop 450SX4, bearing serial number 0026868574, seized from

 9                   David Camez on May 27, 2010;

10              57) a Sony Vaio with power cord, bearing serial number C602H3NQ, seized

11                   from David Camez on May 27, 2010;

12              58) a credit card skimming device, seized from David Camez on May 27, 2010;

13              59) a magnetic strip card reader and writer, seized from David Camez on May

14                   27, 2010;

15              60) a soldering iron, seized from David Camez on May 27, 2010;

16              61) a lock pick kit, seized from David Camez on May 27, 2010;

17              62) eleven (11) Motorola TracFones, bearing serial numbers H62LJW5D7T,

18                   H62LJW459P, H62LJW67NZ, H62LJW5D2H, H62LJW4536,

19                   H62LJW5D4F, H62LJW459L, H62LJW39BN, H62LJW5D2Q,

20                   H62LLY3735, and H62LJJDN3L, seized from Heather Dale on March 20,

21                   2012;

22              63) ten (10) Verizon Samsung cell phones, bearing serial numbers

23                   A000001756COAF, A000001756FE63, A000001756E6C5,

24                   A000001756C28A, A000001756E6B8, A0000017569E83,

25                   A0000017581301, A0000017581F1B, A0000017525F292, and

26                   A00000175252314, seized from Heather Dale on March 20, 2012;

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 1              64) three (3) LG TracFones, bearing serial numbers 903CQNL204871,

 2                   903CQTB243385, and 904CQLH354776, seized from Heather Dale on

 3                   March 20, 2012;

 4              65) an SD card, 2 GB, bearing serial number 518532, seized from Shiyang Gou

 5                   on March 15, 2012;

 6              66) an IBM IGB flash drive, seized from Shiyang Gou on March 15, 2012;

 7              67) a Cruzer mini 256 MB flash drive, seized from Shiyang Gou on March 15,

 8                   2012;

 9              68) a memory stick adapter with memory card, seized from Shiyang Gou on

10                   March 15, 2012;

11              69) five (5) ScanDisk memory cards, seized from Shiyang Gou on March 15,

12                   2012;

13              70) two (2) Sony Memory Stick Pro Duo, seized from Shiyang Gou on March

14                   15, 2012;

15              71) a Samsung phone, bearing serial number R3YXA56711T, seized from

16                   Shiyang Gou on March 15, 2012;

17              72) an LG phone, bearing serial number 811KPT M022569, seized from

18                   Shiyang Gou on March 15, 2012;

19              73) a Nokia cell phone, bearing serial number 661ABRM520, seized from

20                   Shiyang Gou on March 15, 2012;

21              74) a Nokia cell phone, bearing serial number 661URM604, seized from

22                   Shiyang Gou on March 15, 2012;

23              75) a Nokia cell phone, bearing serial number 661ABRM121, seized from

24                   Shiyang Gou on March 15, 2012;

25              76) an HP computer, bearing serial number MXM453067P, seized from Shiyang

26                   Gou on March 15, 2012;

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 1                    77) an iPod 32 GB, bearing serial number C3VDKMBPDCP9, seized from

 2                         Shiyang Gou on March 15, 2012;

 3                    78) an HP PSC1315 All in One Printer, bearing serial number CN48KB201J,

 4                         seized from Shiyang Gou on March 15, 2012;

 5                    79) an SD card 8 GB, bearing serial number 35254221, seized from Shiyang

 6                         Gou on March 15, 2012;

 7                    80) an 8 GB SD card, bearing serial number 3140624068, seized from Shiyang

 8                         Gou on March 15, 2012;

 9                    81) a gold flash drive, seized from Shiyang Gou on March 15, 2012;

10                    82) a WiFly City wireless USB adapter, bearing serial number

11                         8DEC04JJ2482873, seized from Shiyang Gou on March 15, 2012;

12                    83) an iPod 32 GB, bearing serial number C3RDLFMS5DCPN, seized from

13                         Shiyang Gou on March 15, 2012;

14                    84) a Wii, bearing serial number LU83300527, seized from Shiyang Gou on

15                         March 15, 2012;

16                    85) a Zotac Model Mag HDND01, bearing serial number G111911302229, with

17                         Logitech USB drive, seized from Shiyang Gou on March 15, 2012;

18                    86) two (2) iPod 8 GB, bearing serial numbers IB0064Y075J and

19                         DKPDAOFFDCP7, seized from Shiyang Gou on March 15, 2012;

20                    87) a Samsung cell phone, model SCHU350, bearing serial number

21                         0001D60CC32, seized from Shiyang Gou on March 15, 2012;

22                    88) a Dell Inspiron laptop, bearing serial number 9JH8QP1, seized from

23                         Shiyang Gou on March 15, 2012;

24                    89) a Sony Vaio, model PC671312L, seized from Shiyang Gou on March 15,

25                         2012;

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 1                    90) a Clear 4G Mobile Hotspot, bearing serial number 1FM00114730, seized

 2                         from Shiyang Gou on March 15, 2012;

 3                    91) a Totu cell phone T158, bearing serial number 357458040092990, seized

 4                         from Shiyang Gou on March 15, 2012;

 5                    92) three (3) flash drives, seized from Shiyang Gou on March 15, 2012;

 6                    93) a Sony memory stick 4 GB, F925L2L, seized from Shiyang Gou on March

 7                         15, 2012;

 8                    94) a SanDisk extreme 4 GB, seized from Shiyang Gou on March 15, 2012;

 9                    95) two (2) T-Mobile SIM cards, seized from Shiyang Gou on March 15, 2012;

10                    96) an HP Office Jet 6500A printer, bearing serial number CN11C1241Y,

11                         seized from Shiyang Gou on March 15, 2012;

12                    97) an HP monitor, CNCO1SPW, seized from Shiyang Gou on March 15, 2012;

13                    98) a Sony PSP, bearing serial number AG100870541, seized from Shiyang

14                         Gou on March 15, 2012;

15                    99) a T-Mobile Samsung S3600 cell phone, bearing serial number S36006SMH,

16                         seized from Shiyang Gou on March 15, 2012;

17                    100) a Scientific Atlantic 2203C modem, bearing serial number 218063549,

18                         seized from Shiyang Gou on March 15, 2012;

19                    101) a Netgear wireless router, model WNR2000, bearing serial number

20                         IXL38C5T02FB4, seized from Shiyang Gou on March 15, 2012;

21                    102) an SD card 4 GB, seized from Shiyang Gou on March 15, 2012;

22                    103) a 56K PCI modem, bearing serial number 200V23Y0087077, seized from

23                         Shiyang Gou on March 15, 2012;

24                    104) a Britannica SD card, MVO32RMMC, seized from Shiyang Gou on March

25                         15, 2012;

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 1                 105) a PD Talk GPS with SD card, PD9083000304, seized from Shiyang Gou on

 2                      March 15, 2012;

 3                 106) an HP desktop computer, bearing serial number P6813W, seized from

 4                      Shiyang Gou on March 15, 2012;

 5                 107) an American Express gift card, number xxxxxxxxxxx0288, seized from

 6                      Cameron Harrison on November 24, 2010;

 7                 108) a Walmart reloadable card, number xxxxxxxxxxxx8377, seized from

 8                      Cameron Harrison on November 24, 2010;

 9                 109) an LG cell phone with power cord, model LG220CM, bearing serial number

10                      004CYVU1179431, seized from Cameron Harrison on November 24, 2010;

11                 110) a Garmin NUVI 205W with power cord, bearing serial number 1UR254730,

12                      seized from Cameron Harrison on November 24, 2010;

13                 111) a Pep Boys gift card, number xxxxxxxxxxxxxxx8899, seized from Cameron

14                      Harrison on November 22, 2010;

15                 112) a Walmart gift card, number xxxxxxxxxxxxxxx7484, seized from Cameron

16                      Harrison on November 22, 2010;

17                 113) an Apple iPad 64 GB, bearing serial number GB0409R7ETV, seized from

18                      Cameron Harrison on November 24, 2010;

19                 114) an HP Pavilion laptop, model DV5-1160, bearing serial number

20                      CNF8383JN0, seized from Cameron Harrison on November 24, 2010;

21                 115) a Rocketfish 2.5 USB hard drive, model RFHD25, bearing serial number

22                      NS92T6125T8K, seized from Cameron Harrison on November 24, 2010;

23                 116) an HP Presario F700 laptop, bearing serial number CNF7510SVZ, seized

24                      from Robert Kephart on March 15, 2012;

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 1                 117) an Aspire One Acer laptop black, bearing serial number

 2                      LUS670D06193426AC31601, seized from Robert Kephart on March 15,

 3                      2012;

 4                 118) a Targus laptop bag containing a Dell Adamo laptop, bearing serial number

 5                      852FWK1, seized from Robert Kephart on March 15, 2012;

 6                 119) a Smart Disk HDD, bearing serial number 1H7Y23, seized from Robert

 7                      Kephart on March 15, 2012;

 8                 120) a Virgin thumb drive, seized from Robert Kephart on March 15, 2012;

 9                 121) an Attache thumb drive, black/red, seized from Robert Kephart on March

10                      15, 2012;

11                 122) an iPad, model A1396, white, bearing serial number DN6GPAB9DKNY,

12                      seized from Robert Kephart on March 15, 2012;

13                 123) an Apple MacBook Air, model A1370, with black case, bearing serial

14                      number C02DW6ZPDDQX, seized from Robert Kephart on March 15,

15                      2012;

16                 124) an Apple iPhone, white, model A1387, seized from Robert Kephart on

17                      March 15, 2012;

18                 125) a MacBook Air Super Drive, model A1379, bearing serial number

19                      C02FC8PWDJ5M, seized from Robert Kephart on March 15, 2012;

20                 126) a generic computer tower, model 8E-TENL1-UGB, bearing serial number

21                      W10330010445, seized from Alexander Kostyukov on March 15, 2012;

22                 127) an external hard drive enclosure, blue, Simpletech 250 GB, bearing serial

23                      number 0712544250100670, seized from Alexander Kostyukov on March

24                      15, 2012;

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 1                 128) two (2) T-Mobile Nokia cell phones (unopened), bearing serial numbers

 2                      866012569007679335 and 866012569005010038, seized from Alexander

 3                      Kostyukov on March 15, 2012;

 4                 129) three (3) T-Mobile Nokia cell phones, model 1616-2C, seized from

 5                      Alexander Kostyukov on March 15, 2012;

 6                 130) a Samsung AT&T cell phone, model SGH-A107, bearing serial number

 7                      RPHB69702BZ, seized from Alexander Kostyukov on March 15, 2012;

 8                 131) an Apple iPhone 4S 16 GB white, model A1387, bearing serial number

 9                      C38GTY8KDTD1, seized from Alexander Kostyukov on March 15, 2012;

10                 132) an Apple iPhone 4S 16 GB white, model A1387, bearing serial number

11                      84049D1MA4S, seized from Alexander Kostyukov on March 15, 2012;

12                 133) three (3) yellow and black SIM cards, seized from Alexander Kostyukov on

13                      March 15, 2012;

14                 134) a T-Mobile SIM card, seized from Alexander Kostyukov on March 15,

15                      2012;

16                 135) an AT&T SIM card, seized from Alexander Kostyukov on March 15, 2012;

17                 136) a Kingston 4 GB white and purple thumb drive, seized from Alexander

18                      Kostyukov on March 15, 2012;

19                 137) a thumb drive, green, bearing serial number 28981F, seized from Alexander

20                      Kostyukov on March 15, 2012;

21                 138) a PQ1 4 GB blue SD memory card, bearing serial number

22                      MMAGF04GWDCA-DB, seized from Alexander Kostyukov on March 15,

23                      2012;

24                 139) a Nikon D7000 digital camera with 32 GB SanDisk memory card inside,

25                      seized from Alexander Kostyukov on March 15, 2012;

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 1               140) a Nikon CoolPix digital camera, black, model S52, bearing serial number

 2                    30505916, seized from Alexander Kostyukov on March 15, 2012;

 3               141) a Sony Cyber Shot 8.1 MP digital camera, black, model DSC-T100, bearing

 4                    serial number 1572082, seized from Alexander Kostyukov on March 15,

 5                    2012;

 6               142) a Nikon camera lens, (70-300MM), bearing serial number US2762077,

 7                    seized from Alexander Kostyukov on March 15, 2012;

 8               143) a Nikon camera lens, (50MM), bearing serial number US628937, seized

 9                    from Alexander Kostyukov on March 15, 2012;

10               144) a Tokina Aspherical camera lens, bearing serial number 82C7660, seized

11                    from Alexander Kostyukov on March 15, 2012;

12               145) two (2) Nikon lens covers, seized from Alexander Kostyukov on March 15,

13                    2012;

14               146) a Nikon camera flash attachment, speedlight SB900, bearing serial number

15                    2461186, seized from Alexander Kostyukov on March 15, 2012;

16               147) a Western Union $500.00 money order with blank payee field, number xx-

17                    xxxxx0260, seized from Alexander Kostyukov on March 15, 2012;

18               148) an Apple MacBook Pro, silver, model A1278, bearing serial number

19                    W8033T2BATM, seized from Alexander Kostyukov on March 15, 2012;

20               149) a SanDisk thumb drive, seized from Thomas Lamb on May 2, 2011;

21               150) a South Point Casino cashout voucher $130, seized from Thomas Lamb on

22                    May 2, 2011;

23               151) a Kindle Fire HD, new in box, no visible serial number, seized from

24                    Michael Lofton on January 7, 2013;

25               152) an Apple iPad with docking station and case, new in box, no visible serial

26                    number, seized from Michael Lofton on January 31, 2013;

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 1                 153) a Sony USB drive, seized from Michael Lofton on February 1, 2013;

 2                 154) an Epson Stylus printer, model R280, bearing serial number K77K133745,

 3                      seized from Edward Montecalvo on March 15, 2012;

 4                 155) an HTC smart phone, model PD42100, bearing serial number

 5                      HT18RM803892, seized from Edward Montecalvo on March 15, 2012;

 6                 156) a Canon Point and Shoot camera, model PC1355, bearing serial number

 7                      9029238287, seized from Edward Montecalvo on March 15, 2012;

 8                 157) a Dell Inspiron desktop, bearing serial number CN-0392R8-74767-116-

 9                      6RE3, seized from Edward Montecalvo on March 15, 2012;

10                 158) a Dell thumb drive, bearing serial number 820-Q01437, seized from Edward

11                      Montecalvo on March 15, 2012;

12                 159) a Toshiba external hard drive with USB cable, bearing serial number

13                      Y150T6QLTMC3, seized from Edward Montecalvo on March 15, 2012;

14                 160) an Apple MacBook Pro, model A1278, bearing serial number

15                      C1MH18UPDV13, seized from Edward Montecalvo on March 15, 2012;

16                 161) an Apple laptop, bearing serial number 970AAS306856, seized from Elias

17                      Samaha on June 11, 2012;

18                 162) a Sony Vaio laptop, bearing serial number 275047363033747, seized from

19                      Elias Samaha on June 11, 2012;

20                 163) an iPhone, BB 8350, bearing serial number 403215EBBB, seized from Elias

21                      Samaha on June 11, 2012;

22                 164) a Motorola BK70 phone, bearing serial number 364VKMR6Q9, seized from

23                      Elias Samaha on June 11, 2012;

24                 165) an Apple iPod 64 GB, model A1318, bearing serial number 9C937ETU6K4,

25                      seized from Elias Samaha on June 11, 2012;

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 1               166) a PNY 4 GB with two (2) keys thumb drive, seized from Elias Samaha on

 2                    June 11, 2012;

 3               167) a SanDisk Cruzer 32 GB thumb drive, seized from Elias Samaha on June 11,

 4                    2012;

 5               168) an Apple MacBook, model A1181, bearing serial number 4H6502XZWGL,

 6                    seized from Michael San Clemente on June 2, 2010;

 7               169) a Sony Vaio laptop, model PCG-31L, bearing serial number 064253C,

 8                    seized from Michael San Clemente on June 2, 2010;

 9               170) a Kingston 8 GB data traveler, black, seized from Michael San Clemente on

10                    June 2, 2010;

11               171) an Apple MacBook Pro, model A1260, bearing serial number

12                    W880957VYJY, seized from Michael San Clemente on June 2, 2010;

13               172) an Apple MacBook Pro, model A1211, bearing serial number

14                    W871645TWDH, seized from Michael San Clemente on June 2, 2010;

15               173) an HP Pavilion laptop computer, bearing serial number CND9074VOP,

16                    seized from Michael San Clemente on June 2, 2010;

17               174) an Apple MacBook Pro PN, bearing part number 0A58927, seized from

18                    Michael San Clemente on June 2, 2010;

19               175) a 320 GB PN, bearing part number 9ZAZAG-500 with cord in bag,

20                    154594A, seized from Michael San Clemente on June 2, 2010;

21               176) a pocket drive, model GFR202SD, bearing serial number 605USS, seized

22                    from Michael San Clemente on June 2, 2010;

23               177) an HP Pavilion TX2500, bearing serial number CNF826324F, seized from

24                    Michael San Clemente on June 2, 2010;

25               178) a Kodak Easy Share printer, dock series 3, bearing serial number

26                    KCLEG620J0824, seized from Michael San Clemente on June 2, 2010;

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 1                 179) a Sony DVD player, black, model DVP-FX820, bearing serial number 08C

 2                      501-5205314-6, seized from Michael San Clemente on June 2, 2010;

 3                 180) a T-Mobile CardBus and Express Card adapter, model CBZEC, bearing

 4                      serial number BD3G710242, seized from Michael San Clemente on June 2,

 5                      2010;

 6                 181) an IEEE 1394 express card, bearing serial number 11814008945, seized

 7                      from Michael San Clemente on June 2, 2010;

 8                 182) a SanDisk Cruzer 4 GB thumb drive, black, model SDC264096RB, seized

 9                      from Michael San Clemente on June 2, 2010;

10                 183) an HP wireless mouse adapter, silver, product GT909AA, seized from

11                      Michael San Clemente on June 2, 2010;

12                 184) a SanDisk “Wake up the Phone” adapter, model 2008-09-16S, seized from

13                      Michael San Clemente on June 2, 2010;

14                 185) a Novotel wireless slingshot, bearing serial number 5B866BF6, seized from

15                      Michael San Clemente on June 2, 2010;

16                 186) an iPod 8 GB with red/black cover, bearing serial number 9C841ZSQ201,

17                      seized from Michael San Clemente on June 2, 2010;

18                 187) a Motorola Verizon phone, blue, bearing FCC ID number IHDT56JB1,

19                      seized from Michael San Clemente on June 2, 2010;

20                 188) a Kyocera Virgin Mobile phone, black, bearing ME ID number

21                      A0000004482B79, seized from Michael San Clemente on June 2, 2010;

22                 189) a Motorola phone, bearing FCC ID number 1HDT56HC1, seized from

23                      Michael San Clemente on June 2, 2010;

24                 190) a Virgin Mobile LG phone with pouch, bearing serial number

25                      901CYXM0778698, seized from Michael San Clemente on June 2, 2010;

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 1               191) a Motorola Metro phone, model W315, bearing FCC ID number

 2                    1HDT56GE1, seized from Michael San Clemente on June 2, 2010;

 3               192) a Motorola phone, black, bearing serial number M300 238208, seized from

 4                    Michael San Clemente on June 2, 2010;

 5               193) a Motorola phone, blue, bearing serial number M60038Z2495, seized from

 6                    Michael San Clemente on June 2, 2010;

 7               194) a Sprint HTC Pro with black hard cover, seized from Michael San Clemente

 8                    on June 2, 2010;

 9               195) a hard drive, bearing serial number 5QD2ZXWG, seized from Michael San

10                    Clemente on June 2, 2010;

11               196) two (2) SanDisk Cruzer 4 GB Titanium Plus, seized from Michael San

12                    Clemente on June 2, 2010;

13               197) a Targus high speed card reader/writer, black, bearing identification number

14                    1729, seized from Michael San Clemente on June 2, 2010;

15               198) two (2) Sony Memo stick duo adapters, MSAC M2, seized from Michael

16                    San Clemente on June 2, 2010;

17               199) a Patriot memory card, bearing serial number PSD32G106625, seized from

18                    Michael San Clemente on June 2, 2010;

19               200) a Samsung memory card, bearing serial number M470T6554CZ3, seized

20                    from Michael San Clemente on June 2, 2010;

21               201) an Elpide memory card, bearing serial number EBJ21UE8BAU0, seized

22                    from Michael San Clemente on June 2, 2010;

23               202) a memory card, bearing serial number HY564T 1Z80Z 1 HDL, seized from

24                    Michael San Clemente on June 2, 2010;

25               203) a PNY memory card bearing serial number 511-071205051, seized from

26                    Michael San Clemente on June 2, 2010;

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 1                 204) a SanDisk 1 GB chip, seized from Michael San Clemente on June 2, 2010;

 2                 205) a Garmin Nuvi and adapter, 10R-023994, seized from Michael San

 3                      Clemente on June 2, 2010;

 4                 206) a Rocketfish external hard drive, bearing serial number E391854HH, seized

 5                      from Michael San Clemente on June 2, 2010;

 6                 207) a Toshiba disk drive, bearing serial number 58QUFB2ES, seized from

 7                      Michael San Clemente on June 2, 2010;

 8                 208) a Sony Super Steady Shot DSCT70, seized from Michael San Clemente on

 9                      June 2, 2010;

10                 209) a SanDisk 128 MB SD card, seized from Michael San Clemente on June 2,

11                      2010;

12                 210) a Sony memory stick Pro Duo 2 GB, seized from Michael San Clemente on

13                      June 2, 2010;

14                 211) a Fuji Film Quick Snap camera, disposable, seized from Michael San

15                      Clemente on June 2, 2010;

16                 212) a Kodak memory card, seized from Michael San Clemente on June 2, 2010;

17                 213) a Kodak HD camera, M-1003, red, seized from Michael San Clemente on

18                      June 2, 2010;

19                 214) a Kodak Easy Share V610 camera, bearing serial number

20                      KCKFV62501809, seized from Michael San Clemente on June 2, 2010;

21                 215) a Nikon Cool Pix S60 camera, with SanDisk 4 GB SDHC card, bearing

22                      serial number 38244004, seized from Michael San Clemente on June 2,

23                      2010;

24                 216) a JVC hard disk camcorder Everio, bearing serial number GZ-MG130U,

25                      seized from Michael San Clemente on June 2, 2010;

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 1                 217) a Dell XPS laptop computer with power cord, bearing service tag number

 2                      6MQ12C1, seized from Michael San Clemente on June 2, 2010;

 3                 218) an Apple Power Mac G5 desktop tower, model A1L77, seized from Michael

 4                      San Clemente on June 2, 2010;

 5                 219) a Pro-Lam Plus 330 laminator, bearing serial number 2080, seized from

 6                      Michael San Clemente on June 2, 2010;

 7                 220) an HP Photosmart C 6880 wireless printer with power cord, bearing FCC ID

 8                      number B94RSVLD0608, seized from Michael San Clemente on June 2,

 9                      2010;

10                 221) an Apple keyboard, KY63201A6VZSA, seized from Michael San Clemente

11                      on June 2, 2010;

12                 222) an Apple computer mouse, ZH503DJEMNUVA, seized from Michael San

13                      Clemente on June 2, 2010;

14                 223) a Zebra P330I card printer, bearing serial number P33027189, seized from

15                      Michael San Clemente on June 2, 2010;

16                 224) an enhanced CCD scanner, bearing serial number 428DOFB00018, seized

17                      from Michael San Clemente on June 2, 2010;

18                 225) an HP Office Jet H470 Vivera printer, bearing serial number

19                      CN81L181CW, seized from Michael San Clemente on June 2, 2010;

20                 226) a Kwikpoint model 55 foil stamping machine, bearing serial number 5A-

21                      5311, seized from Jermaine Smith on March 15, 2012;

22                 227) a Samsung Metro PCS cell phone, black, bearing serial number

23                      268435460707424949, seized from Jermaine Smith on March 15, 2012;

24                 228) a Dell Inspiron N4110 laptop computer, bearing serial number 00196-177-

25                      074-980, seized from Jermaine Smith on March 15, 2012;

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 1               229) a Samsung Metro PCS cell phone, black, bearing serial number

 2                    268435460709180401, seized from Jermaine Smith on March 15, 2012;

 3               230) a Toho manual tipper, model CM-30, bearing serial number A992221,

 4                    seized from Jermaine Smith on March 15, 2012;

 5               231) a Fargo HDP 5000 high definition ID card printer, model 089000, bearing

 6                    serial number A9061333, seized from Jermaine Smith on March 15, 2012;

 7               232) a Fargo HDP 5000 high definition ID card printer, model 089000, bearing

 8                    serial number A9500654, seized from Jermaine Smith on March 15, 2012;

 9               233) a Zebra ID card printer, model P330I, bearing serial number P330036588,

10                    seized from Jermaine Smith on March 15, 2012;

11               234) two (2) Apple iPads, new in box, bearing serial numbers

12                    DLXG7NVXDKNY and DN6GKB19DFHW, seized from Jermaine Smith

13                    on March 15, 2012;

14               235) a Samsung Metro PCS cell phone, bearing serial number

15                    268435458906307984, seized from Jermaine Smith on March 15, 2012;

16               236) a Kyocera PCS cell phone, bearing serial number A0000012F289B6, seized

17                    from Jermaine Smith on March 15, 2012;

18               237) a T-Mobile blackberry cell phone, PIN 21FCDD3A, seized from Jermaine

19                    Smith on March 15, 2012;

20               238) an Apple laptop with case, bearing serial number W80231Q46D6, seized

21                    from Billy Steffey on December 20, 2010;

22               239) an iPad 64 GB with cover, bearing serial number V5029062E5V, seized

23                    from Billy Steffey on December 20, 2010;

24               240) an iPad 64 GB, (new in box), bearing serial number 6B039FHQETV, seized

25                    from Billy Steffey on December 20, 2010;

26               241) and Iron Key thumb drive, seized from Billy Steffey on December 20, 2010;

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 1                 242) a T-Mobile USB WiFi device, silver, bearing IMEI number

 2                      352071040691797, seized from Billy Steffey on December 20, 2010;

 3                 243) a Sprint 3G WiFi device, bearing ESN 6097D1CF, seized from Billy Steffey

 4                      on December 20, 2010;

 5                 244) a Garmin GPS device, bearing serial number 37901W6022267, seized from

 6                      Billy Steffey on December 20, 2010;

 7                 245) an iPhone 4, black, bearing CC ID number BCGE2380A, seized from Billy

 8                      Steffey on December 20, 2010;

 9                 246) a Google HTC cell phone, bearing serial number HT9CNP810133, seized

10                      from Billy Steffey on December 20, 2010;

11                 247) an iPod with case, silver with red case, bearing serial number

12                      1A949JGM6K2, seized from Billy Steffey on December 20, 2010;

13                 248) an Apple All in One computer, silver, bearing serial number W89525865PJ,

14                      seized from Billy Steffey on March 15, 2012;

15                 249) a Datacard I150 printer, bearing serial number 9037, seized from Billy

16                      Steffey on March 15, 2012;

17                 250) a USB Iron Key, bearing serial number 00885866, seized from Billy Steffey

18                      on March 15, 2012;

19                 251) a USB T-Mobile, silver, seized from Billy Steffey on March 15, 2012;

20                 252) a USB Elgato Turbo 264 HD, seized from Billy Steffey on March 15, 2012;

21                 253) a Tom Tom GPS, bearing serial number JB1448103895, seized from Billy

22                      Steffey on March 15, 2012;

23                 254) a Samsung Verizon WiFi Hotspot 4G LTE, bearing SKU SCHLC11ZKV,

24                      seized from Billy Steffey on March 15, 2012;

25                 255) a USB SanDisk Cruzer, seized from Billy Steffey on March 15, 2012;

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 1                     256) a Sony Vaio laptop, bearing serial number 5413136230011OB, seized from

 2                          Billy Steffey on March 15, 2012;

 3                     257) a T-Mobile HTC smartphone, black, bearing serial number SH175T505773,

 4                          seized from Billy Steffey on March 15, 2012;

 5                     258) a Western Digital external hard drive, bearing serial number

 6                          WX20C79714112, seized from Billy Steffey on March 15, 2012;

 7                     259) a Western Digital external hard drive, bearing serial number

 8                          WCAVY1065850, seized from Billy Steffey on March 15, 2012;

 9                     260) a Lacie external hard drive, bearing serial number 14181109010201EHB,

10                          seized from Billy Steffey on March 15, 2012;

11                     261) a USB Iron Key, bearing serial number 00804208, seized from Billy Steffey

12                          on March 15, 2012;

13                     262) a USB SanDisk, seized from Billy Steffey on March 15, 2012;

14                     263) a Sprint WiFi Hotspot, Novatel, silver, bearing serial number 09111989175,

15                          seized from Billy Steffey on March 15, 2012;

16                     264) a Clear WiFi Hotspot, black, model number WIXFMM-122, bearing serial

17                          number 2044100085687, seized from Billy Steffey on March 15, 2012;

18                     265) an AT&T Microcell, bearing serial number 0022CE-0000166132, seized

19                          from Billy Steffey on March 15, 2012;

20                     266) a MacBook Pro laptop in black case, bearing serial number

21                          C02GN0M6DW47, seized from Billy Steffey on March 15, 2012;

22                     267) a Mac external hard drive, bearing serial number 6F9031E32UP, seized

23                          from Billy Steffey on March 15, 2012; and

24                     268) an in personam criminal forfeiture money judgment of $50,575,123.45 in

25                          United States Currency

26 (all of which constitutes “property”).

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 1           This Court finds the United States of America is now entitled to, and should, reduce the

 2 aforementioned property to the possession of the United States of America.

 3           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

 4 United States of America should seize the aforementioned property.

 5           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

 6 ALEXANDER KOSTYUKOV in the aforementioned property is forfeited and is vested in the

 7 United States of America and shall be safely held by the United States of America until further order

 8 of the Court.

 9           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

10 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

11 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

12 the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

13 the name and contact information for the government attorney to be served with the petition,

14 pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

15           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

16 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

17 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

18 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and
19 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the

20 petitioner’s right, title, or interest in the forfeited property and any additional facts supporting the

21 petitioner’s petition and the relief sought.

22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

23 filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no

24 later than thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty

25 (60) days after the first day of the publication on the official internet government forfeiture site,
26 www.forfeiture.gov.

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 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

 2 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

 3 following address at the time of filing:

 4                 Daniel D. Hollingsworth
                   Assistant United States Attorney
 5                 Lloyd D. George United States Courthouse
                   333 Las Vegas Boulevard South, Suite 5000
 6                 Las Vegas, Nevada 89101
 7          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 8 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 9 following publication of notice of seizure and intent to administratively forfeit the above-described

10 property.

11          Dated: this
            DATED  April______
                         1, 2014.
                               day of __________________, 2013.

12

13                                                         __________________________________
                                                           UNITED STATES DISTRICT JUDGE
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